                                                                                                                      Case 2:18-cv-00187-JAD-GWF Document 3 Filed 02/01/18 Page 1 of 2



                                                                                                                       P. STERLING KERR, ESQ.
                                                                                                                 1
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                                                                                                                                                UNITED STATES DISTRICT COURT
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                                                                                                                 10
                                                                                                                                                      DISTRICT OF NEVADA
                                                                                                                 11
                                  ATTORNEYS AT LAW




                                                                                                                 12     INTERNATIONAL MARKETS LIVE,
                                                                                                                                                                     Case No.: 2:18-cv-00187
                                                                                                                        INC., a New York corporation;
                                                                                                                 13     CHRISTOPHER TERRY, an individual;
                                                                                                                 14
                                                                                                                                        Plaintiffs,
                                                                                                                 15
                                                                                                                        v.
                                                                                                                 16

                                                                                                                 17     ROBERT HALTERMAN, an individual;
                                                                                                                        CHAKRA CAPITAL GROUP, an
                                                                                                                 18     unknown entity; SCOTT CARNEY, an
                                                                                                                        individual ETHAN VANDERBUILT, an
                                                                                                                 19
                                                                                                                        individual; DAVE MACKINSON, an
                                                                                                                 20     individual;

                                                                                                                 21                    Defendants.
                                                                                                                 22

                                                                                                                 23
                                                                                                                                            CERTIFICATE OF INTERESTED PARTIES
                                                                                                                 24

                                                                                                                 25
                                                                                                                              Pursuant to Local Rule 7.1-1 of the United States District Court Rules, the
                                                                                                                 26
                                                                                                                       undersigned, counsel of record for Plaintiffs International Markets Live, Inc., a New York
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1     corporation and Christopher Terry certifies that there are no known interested parties other
2     than those participating in the above-entitled action.
3            These representations are made to enable judges of the Court to evaluate possible
4     disqualification or recusal.
5            Respectfully submitted this 1st day of February, 2018
6

7                                                   LAW OFFICES OF P. STERLING KERR
8                                                              /s/ George E. Robinson
9
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